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                                                                   March 13, 2025

Via ECF
Honorable Michael A. Hammer, U.S.M.J.
United States District Court for the District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07101

                      Re:     Teva Branded Pharmaceutical Products R&D LLC, et al. v.
                              Amneal Pharmaceuticals of New York, LLC, et al.
                              Civil Action No. 2:23-cv-20964 (SRC-MAH)

Dear Judge Hammer:

This firm, together with Procopio, represents Defendants in connection with the above-referenced
matter. We write jointly with counsel for Plaintiffs to respectfully request that the current case
schedule (ECF No. 56) be amended as set forth below:


      Event                           Existing Deadline       Proposed New Deadline

      Rebuttal expert reports         March 14, 2025          March 21, 2025

      Reply expert reports            April 8, 2025           April 15, 2025

      Close of expert discovery       May 17, 2025            May 24, 2025



No additional deadlines in the case schedule will be impacted by this modification. We thank the
Court for its consideration of this request.

                                             Respectfully submitted,

                                             /s/ Rebekah R. Conroy
                                             Rebekah R. Conroy

cc via ECF: All Counsel
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